          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:08cr59-5


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
COOLIDGE KENTAY USSERY. )
                          )



     THIS MATTER is before the Court on the Motion for Copies of

Documents [Doc. 139] filed by newly appointed counsel.

     On July 17, 2009, James Weidner was appointed by the United

States Fourth Circuit Court of Appeals to represent the Defendant. [Doc.

134]. Mr. Weidner did not represent the Defendant at the District Court

level. As a result, he requires an order allowing the unsealing of the

presentence report [Docs. 63, 67 & 68] and the Statement of Reasons

[Doc. 87] for purposes of disclosure to newly appointed counsel.




      Case 1:08-cr-00059-MR   Document 140   Filed 10/07/09   Page 1 of 2
     IT IS, THEREFORE, ORDERED that the Motion for Copies of

Documents [Doc. 139] is hereby GRANTED and the Clerk of Court is

authorized to unseal Documents 63, 67, 68 and 87 as to James Weidner.

                                    Signed: October 6, 2009




     Case 1:08-cr-00059-MR   Document 140    Filed 10/07/09   Page 2 of 2
